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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

  John Doe, et al..

        Plaintiffs,                                  Case No. 2:91-cv-464

        V.                                           Judge Michael H. Watson

  State of Ohio, et al.,                             Magistrate Judge Vascura

        Defendants.


                                OPINION AND ORDER

        On February 12, 2020, Magistrate Judge King issued a Report and

  Recommendation ("R&R") recommending that the Court grant final approval of

  the parties' Settlement Agreement, award attorney's fees, costs, and expenses in

  the amount of $3,000,000.00, and enter final judgment in this case. R&R 1, EOF

  No. 600. Thereafter the parties filed a joint notice of non-objection to the R&R.

  Notice, EOF No. 601. Accordingly, the Court ADOPTS the findings and

  conclusions of the R&R in full. Plaintiffs' motion for final approval, ECF No. 597,

  and motion for attorney's fees, costs, and expenses, ECF No. 588, are

  GRANTED. This case is DISMISSED WITH PREJUDICE, but the Court retains

  jurisdiction over the case to enforce the terms of the Settlement Agreement. The

  Clerk is DIRECTED to enter final judgment and terminate this case.

        IT IS SO ORDERED.
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                                         MICHAEL H. WATSON, JUDGE
                                         UNITED STATES DISTRICT COURT
